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                       Exhibit 1
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J. by her next friend and mother, HEATHER
 JACKSON,
                              Plaintiff,
                        v.                               Civil Action No. 2:21-cv-00316

 WEST VIRGINIA STATE BOARD OF                            Hon. Joseph R. Goodwin
 EDUCATION, HARRISON COUNTY BOARD
 OF      EDUCATION,          WEST      VIRGINIA
 SECONDARY            SCHOOL         ACTIVITIES
 COMMISSION, W. CLAYTON BURCH in his
 official capacity as State Superintendent, DORA
 STUTLER in her official capacity as Harrison
 County Superintendent, and THE STATE OF
 WEST VIRGINIA,

                              Defendants,

                        and

 LAINEY ARMISTEAD,

                              Defendant-Intervenor.



                        DECLARATION OF HEATHER JACKSON

       I, Heather Jackson, pursuant to 28 U.S.C. § 1746, declare as follows:

       1.      I make this declaration of my own personal knowledge, and, if called as a witness,

I could and would testify competently to the matters stated herein.

       2.      I am 54 years old. My husband, Wesley, and I are the parents of two sons, ages

20 and 14, and an 11-year-old daughter. We have been married for 21 years. We live in Lost

Creek, West Virginia.

       3.      Our daughter’s name is B.P.J. My daughter and I have a very deep connection

and I believe she knows that she can come to me for anything—I love her very much.


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       4.      Wesley and I are fiercely protective of B.P.J. As her parents, we want to see

B.P.J. happy and achieve all her goals.

       5.      B.P.J. is bright and studious; she makes “straight As” and loves math and science.

       6.      B.P.J. is also transgender.

       7.      B.P.J. knew from a very young age that “she didn’t want her boy parts.” She

never wanted to be naked for bathing because she was deeply uncomfortable with and did not

want to see certain parts of her body. B.P.J. also did not like standing up to urinate. She would

often ask me a lot of questions about my own body and about why our bodies were physically

different, if we were both girls.

       8.      As a child, B.P.J. also presented differently than my other children, both of whom

are boys. At or around the age of four, B.P.J. started asking and was allowed to play dress-up in

my clothes around our home. Whenever B.P.J. was provided with the opportunity to pick out her

clothes or toys, she always went straight for the “girly” items. I knew this was not a “phase” for

her, and that there was something different happening.

       9.      When B.P.J. told us that she is a girl and wants to be addressed as a girl, we were

not surprised because we spend so much time with her.

       10.     Because B.P.J. and I have such an open and communicative relationship, we

would have conversations about how she was feeling. The more we talked and the more

comfortable she became with expressing how she was feeling and who she is, the more she was

able to clearly communicate that she knew she was a girl.

       11.     By the time B.P.J. was in the third grade she had chosen her name and was living

as herself at home. Towards the end of that school year, B.P.J. informed her father and me that




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she did not want to continue going to school “dressed as a boy.” We agreed she could start going

to school dressed as herself.

       12.     In 2019, when B.P.J. was heading into the fourth grade, I met with several school

staff at Norwood Elementary School to discuss and create a gender support plan for B.P.J. The

Gender Support Plan is a document the school uses to help guide school staff in supporting

B.P.J. in navigating her educational experience as her authentic self. The plan required school

staff to be informed that B.P.J.’s authentic gender is female, and instructed school staff to refer to

her with her female name and female pronouns. School staff were also instructed on how to

support B.P.J. if she faced problems from others at school because of her gender. A true and

correct copy of this Gender Support Plan is attached as Exhibit A.

       13.     In 2019, we brought B.P.J. to the UPMC Children’s Hospital of Pittsburgh’s

Gender and Sexuality Development Program because B.P.J. was worried about the possibility of

going through endogenous puberty. B.P.J. was diagnosed with gender dysphoria by the Medical

Director of the Gender and Sexuality Program, Dr. Gerald T. Montano. When B.P.J. was

initially diagnosed, we were told that puberty delaying treatment was not yet appropriate because

she had not begun puberty. Dr. Montano told us about the first signs of puberty to look out for at

home, and we made regular follow-up appointments to monitor B.P.J.’s development.

       14.     Once B.P.J. reached the beginning of puberty, Dr. Montano prescribed puberty-

delaying treatment on June 15, 2020. B.P.J. has continuously receive puberty delaying treatment

since June 15, 2020, under the care of a multidisciplinary team of providers with expertise in

treating transgender adolescents.

       15.     Our family enjoys participating in sports, and I am proud to see B.P.J. enjoying

sports too.



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       16.     During the 2019-20 and 2020-21 school years, B.P.J. was a member of the

cheerleading team for the Bridgeport Youth Football League. All members of that team were

girls. Even before B.P.J. started cheering with her team, she spent a year learning all the cheer

team’s routines from the stands. When B.P.J. received her girls’ cheer uniform, she was

glowing. B.P.J. always wanted me to be in the front row of her competitions. During the 2019-

20 season, for the first time ever, B.P.J.’s cheer team placed at a cheer competition.

       17.     Being on the cheer team dramatically increased B.P.J.’s confidence and

happiness. B.P.J. was supported and accepted by the other girls on her team and her coaches.

B.P.J.’s participation on her cheer team taught her the importance of responsibility, trust, and

team building. B.P.J. is especially proud to have served as part of the base for her cheer team’s

pyramids because it demonstrated to her that her teammates trusted and relied on her in order to

complete their routine.

       18.     Participating in cheer was a meaningful way for B.P.J. to learn responsibility. As

her mother, I can preach about the importance of responsibility, but her position on her cheer

team provided her with the real-life experience of having others rely on her to attend practice and

participate, and this has helped her understand responsibility in a deeply personal and meaningful

way.

       19.     Although B.P.J. enjoyed cheerleading, she joined the cheer team in part because it

was one of the only sports offered to her grade level in which she was interested. When B.P.J.

began junior high, however, she was excited to try out for Bridgeport Middle School’s girls’

cross-country and track teams.

       20.     Having the opportunity to run on the girls’ cross-country and track teams is

important to B.P.J. because B.P.J. comes from a family of runners. When she was younger, I



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would take B.P.J. on runs with me through parks and she grew up watching her brothers run on

their school teams. Additionally, she wanted a continued sense of belonging and camaraderie

like she had with the cheer team and hoped to gain that through joining the girls’ cross-country

team in the fall.

        21.     Wesley and I were so excited for B.P.J. to run and I was truly looking forward to

attending her future cross-country and track meets. B.P.J.’s brothers were also both excited for

B.P.J. and looked forward to seeing their sister compete.

        22.     B.P.J. has the support of her family, coaches, instructors, and peers. Our family is

very supportive, and my 76-year-old mother (B.P.J.’s grandmother), and my step-father (B.P.J.’s

step-grandfather) are B.P.J.’s biggest supporters.

        23.     On May 18, 2021, I met with B.P.J.’s new Principal at Bridgeport Middle School,

David Mazza, to discuss and create B.P.J.’s Gender Support Plan for the sixth grade. Like the

plan we developed for B.P.J. at her elementary school, the plan for Bridgeport Middle School

emphasizes that B.P.J. is secure in her identity as a girl and well supported by her parents, school

administrators, teachers, and friends. A true and correct copy of that Gender Support Plan is

attached as Exhibit B.

        24.     During the May 18, 2021 meeting I informed Principal Mazza that B.P.J. wanted

to participate on the girls’ cross-country and track team. Principal Mazza communicated to me

that, due to H.B. 3293, my daughter would not be permitted to participate on the girls’ cross-

country or track teams.

        25.     On July 12, 2021, conditioning and practice started for the fall 2021 season of

cross-country. While my daughter and I were happy to know she was able to participate in

training and conditioning due to an agreement by the Defendants in this case to not enforce H.B.



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3293 against her during that period, I was concerned about whether she would be able to try-out

for and participate on the girls’ cross-country team.

        26.    On July 21, 2021, I learned that the court ruled that my daughter would be

allowed to try-out for the girls’ cross-country and track teams! At the beginning of August,

B.P.J. participated in try-outs for the girls’ cross-country team and soon thereafter our family

learned that she made the team.

        27.    During her first cross-country season, B.P.J. participated in the Mountain Hollar

MS Invitational meet and the Doddridge Invitational meet. At the Mountain Hollar Invitational,

B.P.J. placed 51 out of 66 participants and at the Doddridge Invitational, she placed 123 out of

150 participants.

        28.    B.P.J. told me that she learned a lot about team work, and that she made many

friends through participating on the cross-country team. She said that she had no problems with

any of her teammates and that they had a fun season. Photos from B.P.J.’s cross-country season

are attached hereto as Exhibit C.

        29.    It was no surprise to me that by the time track season came, B.P.J. was ready to

keep on running. At the beginning of March, my daughter participated in the required two-week

try-outs for the girls’ team and on March 11, 2022, we learned that she made the girls’ track

team.

        30.    B.P.J. is a girl. It is wrong and senseless to try to make her participate on boys’

sports teams when there are girls’ teams available. Forcing B.P.J. to compete on the boys’ cross-

country or track teams when girls’ teams are available would completely erase who she is, and it

would devastate her because she is a girl. My daughter is simply saying, “Accept me for who I

am.”



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        31.      B.P.J. was so happy to be able to run this school year, and she is so afraid of

having that opportunity taken away from her. Prohibiting her from participating on the girls’

team would also set back her medical treatment, which calls for her to be treated as the girl she is

in all aspects of her life, and her mental health would suffer if she could no longer do the thing

she loves because West Virginia refuses to treat her as a girl. Forcing her to run with the boys is

a clear sign to her and others that the state refuses to see her and accept her for the girl that she

is, and would be profoundly harmful to her.

                                                ***




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on 04/19/2022                      ________________________________
                                            Heather Jackson




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                      Exhibit A
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                                                                       X    N




                                                                       Or go

                                                                  Dr. Mark A. Manchin
                                                                     Superintendent

                                                               — Confidential —
                                                             Gender Support Plan
           The purpose of this document is to create shared understandings about the ways in which the student's authentic
           gender will be accounted for and supported at school. School staff, caregivers and the student should work together
           to complete this document.

         School/County                                                                                                8-73- / 9
         Name Student Uses:         B                          'ame on Birth Certificate:                                --j
         Student's Gender  Identi          a                 Assigned Sex at Birth                   Student Grade Level        q
         Student's DOB:
         Parent(s), Guardian(s), or Caregiver(s) /relation to student
         pect-f-h  e       -S"eca son   /         Westiq Pepp2
        Meeting participants: Srift-ttb_                                                            r Jeso of 'ES               ,
                                         S         Sir     /tie         •
          PARENT/GUARDIAN INVOLVEMENT
          Are guardian(s) of this student aware and supportive of their child's gender status? , C Yes                          No
          If not, what considerations must be accounted for in implementing this plan? 140(Y1                   ve            sopw-ht/e,
          do4 ksts S4-rucy3u(i bu Com i'a9                                         .?rterti( 169
             p                 etc h                 Pa-kmdsite       s                     ; )y'sL ti / sopptv-E
          CONFIDENTIALITY, PRIVACY AND DISCLOSURE k/1                (513er- -Cch4tx - /423.3cti- ‘'\/Vu
          Howpublic or private will information about this student's gender be (check all that apply)?
                A    County staff will be aware (Superintendent, Student SupAort Services4 9istrict Psychologist, etc.)
                     Specify the adult staff members:                                              011t
                 A/ Site level leadership/administratialwill know (lDrirIcipl, counlelor, ertc.)
                    Specify the adult staff members:    lax°.                   S oJA.a -3c.K00 k ezun.s4. lors
                     Teachers and/or other school staff will knlow
                     Specify the adult staff members: 41k 4ca_ck e. r           S                                               EXHIBIT
                     Student will not be openly "out," but some students are aware of the student's gender
                                                                                                                          a
                t,   Specify the students:
                     Student is open with others (adults and peers) about gender
                     Other — describe:                   is conk-64ahlt wl+h Aei's 16toWin9
          If the student has asserted a degree of p ivacy, what steps will be taken if that privacy is
          compromised, or is believed to have been compromised?
                                                                                il/A
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                                                                                                                            Page 12



       How will a teacher/staff member respond to any questions about the student's gender from:
          Other students?       Be ope l alb horu                     -         ke i s `e>                     %Ind Ala+
                                         haPP         -


          Staff members?                                    hones+ -                   e i S"E,R                 • arj
          4'64'           tINIXA(
          Parents/community? r--6 e      40)Re /1 a            )1ii6 tlR- -I-- slit, is eB.                               aAd
                          1110,16-3           r ka-PP/
       STUDENT SAFETY
       Who will be the student's "Trusted Adult" at School?  -PO- IS CorAlorlabit 16411 41 -kacki2
       If this eerson isinotavailable, what should student do?      t 5 COM-T.14A    \Q il k+) At) -tea Chs                         .
             Showed Q lomat) nu% \NI%-kit\ " Za,ic s a ej.                  -h c r5.
       What are expectations in the event the student is feeling unsafe and how will student signal their need for help:
          During class           t   kaa3 1 (-le -I- up a KID L&J 1 i< 4o -1-mettin - Ye1 I Le (p
          Field Trips -        1 r‘Li r toe,ts4 -.61,c ,c) Mti 1-1- Ye
          In the halls    11                                                                              /
          Other
          Other safety concerns/questions:       IA                       IS ea-le             cUtcl Cont) caitz b
               0,YA, Veil] Muth SuppOr4t
       What should the s1 udent's parents do if they are concerned about how others are treating their child at school?
       MOM and                6r id      IMII Cofrfac+ —lard Skietris.
      NAMES, PRONOUNS AND STUDENT RECORDS
      What name and gender marker are listed on the student's identity documents
      Name/gender marker entered into the Student Information System hut le_
      Name to be used when referring to the student '—e)                                                Pronouns Ixer        hehq.
      Can the student's name/gender marker be reflected in the SI ?                    If so, how? If not, why not?
               RcVe           \i k    be Yv                b                          Witt        be      in       n
               &1-        b              tUk-
      If not, what adjustments can be made to protect this student's privacy (see below)?



      Who wilYbe the point person at school for ensuring these adjustments are made and communicated as needed?
                  1-rt 9hiP lL
      How will instances be handled in which the incorrect name or pronoun areslby staff members?
                                             W                                                 neit=ed arvii77- 73
      By students?        \                                                                                            II
                                                                                           S                                 r-
                          ruk, 5 41)                       nl-iao.S.
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       If unable to change the student's profile in the student information system, how will the student's privacy
       be accounted for and maintained in the following situations or contexts:
          During registration
          Completing enrollment
          With substitute teachers —                                      ti                        42Dr     S
          Standardized tests    'Popu l i4                  In 'Je v' ts
          School photos     1Qcou           ,               1N) tA   tat LA/0k U
          IEPs/Other Services
          Student cumulative file   TOpik tek.4-cd I                 Wevi3
          After-school programs
          Lunch lines
          Taking attendance                           \NJ t\ b.           -1        )
          Teacher grade book(s) L; tle                 pith                L, ta-ied 1-1-r-orY1 We vi
          Official school-home communication
          Unofficial school-home communication (PTA/other)
          Outside district personnel or providers
          Summons to office 3 -11.-c-c          \N-1 I I
          Yearbook                                          —
          Student ID/library cards
          Posted lists
         Distribution of texts or other school supplies
         Assignment of IT accounts/email address
         PA announcements
      If the student's guardians are not aware and/or supportive of the student's gender status, how will school-
      ho     communications be handled?
                a rerrk                      Soppo reh use-
      What are some other ways the school needs to anticipate the student's privacy being compromised? How will
      these be han • led?
            a             tn          CO                     'all
      USE OF FACILITIES
      Student will use the following bathroom(s) at school:           11       -ka_eite_r lat              --frs4- on OA
                                                                                                                         //
      Student will change clothes in the following place(s)           \
      If student/parent have questions/concerns about facilities, who should they contact? - Tit-zt              A i e,i6iS
                                                                                               i1     -
      What are the expectations regarding the use of facilities for any class trips?          -     mi k   y bencti r
               are   e expec    o s e                oIni                      f          Bet-fit eo n'l •

                                     d
       re there any questions or c ncerns about the student's access to facilities?




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                                                                                                                     Pagel 4

        EXTRA CURRICULAR ACTIVITIES
        In what extra-curricular programs or activities will the student be participating (sports, theater, clubs etc)?
                      is on a ch.u.                                                c.)04-5cii 0- Sckoo 1 -
         5 --i'i rtc23 or Choi r are                               aviD -
        What steps will be necessary for supporting the student there?
                           14 A


        Does the student participate in an after-school program?               A
        What steps will be necessary for supporting the student there?        kJ



        Questions/Notes:


        OTHER CONSIDERATIONS
        Does the student have any sibling(s) at shool?             Factors to be considered regarding sibling's needs?
        1404              Na/ Wood -               rtd-her is io                      wadi) Schoo I BIAS

    rDoes the school have a dress code? Yea               How will this be handled?
               (yr\diy- %L.tei-CC-
          go - -                                      NO      31tort- skefic4s, or                                   `S-117116
          CA nk (ni t S-ott 6.,( •
        Are there lessons, units, content or other activities coming up this year to consider (growth and development,
        swim unit, social justice units, name projects, dance instruction, Pride events, school dances etc.)?

             /A            it be r. .ekAptiipc1 A4 (to,9,-\-   r 1Li •
        teal-k-V\ auPnAl'on vki 111 la.t dActirJAA t .tv.-1- yea r.
        Are there any specific social dynamics with other students, families or staff members that need to be discussed
        or accounted for?
                                            0


        What training(s) will the school engage in to build capacity for working with gender-expansive stu• ents? ow
    (    ill.1the school work to create more gender inclusive conditions for all students?
         il
          t tkveci -tra innrv( nn i 4-1)i#rpriei cuNd cllf       tv_ef5t
        L-6 B-7--- 634- A b.11 gl2 I and ePit yard] ( Vaytvoi anci
        p&u,oipti tZic(cvr Li S 61)r thei_ .
        Does the student use school- or district-provided transportation services? If so, how will the student's gender
        be ac unted for?
             DLLS          river 'Rand                   2S 1-1_     Wtt k              ealitaled
                                                                      an                 C. I.ear)           mnioAtu .

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                                                                                                                  Pagel 5

       Are there any other questions, concerns or issues to discuss?


                                                         A




       SUPPORT PLAN REVIEW AND REVISION
      How will this plan be monitored over timeCZO‘Aptije              A4     (ii S4 \jeaxiy bt)-f
        03(x_ Lk.         ik/i .-34/(f3 CA- 4-tety                                  schLpi Vear t1uctid.
      What will be the process should the stpclenti familliepr school,* to revisit any aspects of the plat) (or
      seek additions to the plan)?   Con-rac-r - tam -)y-Itetti3                       6   r            ch r
      What are specific follow-ups or action items emerging from this meeting and who is responsible for them?
       Action Item                                                                           Who?             When?
        &I /A




      Datefrime of next meeting or check-in                            Location

                    .504thicAL                       eiekd             school         \lea_ r -.or
               <36100\ \ka r.
                34a,r6,4              msc„),LGSW




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                      Exhibit B
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                                                                    or ED

                                                                 Dora L. Studer
                                                                 Superintendent

                                                              — Confidential —
                                                            Gender Support Plan
          The purpose of this document is to create shared understandings about the ways in which the student's authentic
          gender will be accounted for and supported at school. School staff, caregivers and the student should work together
          to complete this document.
                            n
              county
       School/Countyny      t e y4.- Middle., — Ott                    tris 6 n                              ate       I CI) 2.
       Name Student Uses:             CCK.4                 Name on Birth Certificate                      Pene                         on
       Student's Gender !dent,          W1    ,(P          Assigned Sex at Birth rna, t            Student Grac e evel          o 44i
       Student's DOB: 511 t ID
       Parent(s), Guarclian(s), or Caregiver(s) relation to student
       1-4CaiiItii al i 1M           bo i
                                        /
       Meeting participants:171,YirCCIEZMThlyibey WW1'S
                                                                                                             /
                                         I                                                                   Maw
                                                                      6

         PARENT/GUARDIAN INVOLVEMENT
         Are guardian(s) of this student aware and supportive of their child's gender status?                    Yes           No
         If not, what considerations must be accounted forin implementing this plan?


                                                                                  •
         CONFIDENTIALITY, PRIVACY AND DISCLOSURE
         How public or private will information about this student's gender be (check all that apply)?
                     County staff will be aware.(Superintendent, Student Suppop Services, ysplct Psychologist, etc.)
                     Specify the adult staff members: I) 0 Yet Silki      er 3 ara- n al-AV Yy
                      Site level leadership/administration will know (Principal, counselor, etc.)
                      Specify the adult staff members:MY.        Maria, VW. OldaK eri M eld Winn                       Marl' M
           4       ...Teachers and/or other school staff will know
                      Specify the adult staff members:   A-1I -1-eathevs                                                            EXHIBIT
                     Student will not be openly "out," but some students are aware of the student's gender                15
                                                                                                                          .0
                     Specify the students:

               Yk_ Student is open with others (adults and peers) about gender
               i   • Other describe:         1       S                                                   S
        \lex beincley                                      and -WAYIsAiorN
                                                     /
        If the student has asserted a degree o privacy, what steps will be taken if that privacy is
        compromised, or is-believed to have been compromised?
                                                                          N11 A

Confidential                                                                                                                            RR! 002
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                                                                                                                 Pagel2



 How will a teacher/staff member respond to any questions about the student's gender from:
    Other students?                     and huttS4- —the is Becky; apci

    Staff members?                                       Y             SYQ       lc Bala/ f aro'
     Thai+ mau Vvvitin • • 6 Y
    Parents/community? IX                                                                               1' and
           MI6       Y tACR1
 STUDENT SAFETY
 Who will be the student's "Trusted Adult" at School?          V, Heim                 Ma ..     MariI
 If this person is not available, what should student do?                                         Beal cats*
 Qowthwtable Spat itim we 4+1.
 What are expectations in the event Vie student Is feeling unsafe and how will student signal their need for help:
    During class •     ig-f                 C-0-             old, tAMAILtb Afacherlell help
    Field Trips       cw.)      oS                           octal -t-ivu  etpif
    in the halls \\
    Other
   Other safety concerns/questions:   P)e_ctry gtelS zSak arid Unity-V/1D e, and
    kityj much Suppor
What should the stude2is parents do if they are concerned about how others are treating their child at school?
  Mt" me,1 041)0A, w kk CAWItati-                                                Via22.6i
NAMES, PRONOUNS AND STUDENT RECORDS
What name and gender marker are listed on the student's identity docurggnts?11111,1111111,11111 Pepl,r-'
                                                                                               c
                                                             ..1a Ctc. n - mck e
Name/gender marker entered into the Student Information System vylale)                               cicq 1-
Name to be used when referring to the student        91jekiLy          •                       Pronouns   vityisheri hes
Can the student's name/gender marker be reflected in the SIS?                 If so, how? If not, why not?


 VI“ -V        -th biYA-V1 VVIMG
If not, what adjustments can be made to protect this student's privacy (see below)?



Who will be the point person at school for ensuring these adjustments are made and communicated as needed?
 David I\Atizza
How will instances be handled in which the incorrect name or pr7noun are used by staff member. ?
                                                                                                                     'or
By students?
PATIcy Inn1I qp00- -11) Atabribli                                      Mti22a. I Czunctluy F.+ a
   c/ov\hymes -140 ;1( -wkoiorko,,,                                    •
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                                                                                                                           PageI3

        If unable to change the student's profile In the student information system, how will the student's privacy
        be accounted for and maintained in the following situations or contexts:
            During registration
            Completing enrollment                                                      •
            With substitute teachers Tetitht-V5                VNA 1 teave Inf-D                 p _eufts fiw       cLth         dier
            Standardized tests Popo,            Ord           VA       ns
            School photos N       0111e         Bally           1/AU             Pak       d
            IEPs/Other Services
            Student cumulative file        c201)                    ctA   kAlVnS
            After-school programs
            Lunch lines pUVU                        iv,
           Taking attendance P)tf i tA Wfl     bt j                        (
           Teacher grade book(s)          UV
                                        Ev a des  po                       ui&                     m     w    uns
           Official school-home communication
           Unofficial school-home communication (PTA/other)
           Outside district personnel or providers
           Summons to office St ok.cf                                                      eLicy
           Yearbook Of_ C.icy             p        tie—       Vet.CiaD
           Student ID/library cards                     pa,ytni's          U Qik           oh          auk(
           Posted lists
           Distribution of texts or other school supplies
           Assignment of IT accounts/email address
           PA announcements           •
      If the student's guardians are not aware and/or supportive of the student's gender status, how will school-
      ho     communications be handled?
          11av4rits are                    kupoytt            -rc


      What are some other ways the school needs to anticipate the student's privacy being compromised? How will
      these be handled?
       VIM-1( 141111 DITfiettYthalifq                                 aro hale_                         yieedrct,


      USE OF FACILITIES           •
      Student will use the following bathroom(s) at school:                flAhcrtiDvislivuirs6 kci 1- c,
      Student will change clothes in the following place(s)                                                                 1/
      If student/parent have questions/concerns about facilities, who should they sontact?Det,Vi CI                        ila
      What are the expectations regarding the use of facilities for any class trips?           LA.c(. -rcueo           ncier
                                               . Crif     tb                                    .rte                       moue,
                          pcititicfliNg4n               oca                                            lYl    Int0q
                                                                           rrief14 s


     Are there any questions or concerns about the student's access to facilities?               JO



rst-Nnfirl,nrfi,1                                                                                                                  BPJ 004
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       EXTRA CURRICULAR ACTIVITIES
       In what extra-curricular. programs or activities will the student be participating (sports, theater, clubs, etc)?
         MSC eiletiMillj               &rid Tata.
       What ste • s will be necessary for supporting the student there?                   b)a Lilts wo aid
                                                      04-
                  Veiffth         C 1+hq          CWICI                              41141)                   OCEMInictraWn •
       Does the student participate in an after-school program?
       What steps will be necessary for supporting the student there?                ititv                   ritittint
       bt Quart of iromiltvk                                      QJcI                  volYtftw             le
           inyudvi                                    51Y-311\on s - VV                                       Cfth CIS (_
       QuagosaakespioNn
      OTHER CONSIDERATIONS
                                       403 Nictdie gchtstI.
      Does the student have any siblin (s) at school?
        bYISWItY          a* 1?) if- •     (FM
                                                                 Factors to be considered regarding sibling's needs?




      Does the school have a dress code?                How will this be handled?


         CAWVI,        61A      C-CnSf
      Are there lessons, units, content or other activities coming up this year to consider (growth and develo ment,
      swim unit, so ial ustice units, name p ojects, dance instr ction, Pride events, school dances etc.)?




      Are there any specific social dynamics with other students, families or staff members that need to be discussed
      or accounted for?




     What training(s) will the school engage in to build capacity for working with gendsr-expansive students? How
     will the school w .k to create more gender inclusive conditions forall students? 15               t
      Yie ce vt           cam            on ibleninct                                                &Nag
                   11-1                         Vic                                                                iitpCOmir9
      ktvtiew ,SChboi
     Does the student us school       district-prpviped tra    lation serke3?gi how wilajl hetrdirpender
     be accounted for?    W           2-2) 1 IVIV,


                            yyed pi/isms-11ns

rnrifiAnntinl                                                                                                              BPJ 005
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       Are there any other questions, concerns or issues to discuss?


                                                      N




       SUPPORT PLAN REVIEW AND REVISION
       How will this plan be monitored over time?   pi OA will be reocvu-al                               (1.1i v
       17W- Mtn Y                 trzo-0-al OA- am/ --V-tyyThe pex tretuit
      What will be the process shoutl the student, family, or‘Ft2ool wish to revisit any aspects of the plan (or
      seek additions to the plan)? Naraft                    1\4 0.220.


      What are specific follow-ups or action items emerging from this meeting and who is responsible for them?
      Action Item                                                      •                   Who?             When?




                                                                         •




      Date/Time of next meeting or check-in                            Location

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r.onficipntial                                                                                                          BPJ 006
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                      Exhibit C
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